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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION                                    Aug 04, 2022
_________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570

_________________________________________

This Document Relates to Plaintiff:

Brian K. Barthalow
Civil Case #1:17-CV-02139
_______________________________________

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Brian K. Barthalow and the Defendants hereby stipulate, pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(ii), that the Plaintiff’s claims against all Defendants are dismissed

with prejudice, and each party shall bear its own costs and attorneys’ fees.

                                              Respectfully submitted,

Dated: May 5, 2022

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